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B. RILEY FINANCIAL ISSUES OPEN
LETTER TO CORE SCIENTIFIC
INVESTORS


NEWS PROVIDED BY
B. Riley Financial 
Dec 14, 2022, 13:58 ET




     Proposes Debt Restructuring to Core Scienti c Board in Order to Avoid Bankruptcy
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LOS ANGELES, Dec. 14, 2022 /PRNewswire/ -- B. Riley Financial, Inc. (NASDAQ: RILY) ("B. Riley"),
a diversi ed nancial services platform which is one of the largest creditors of Core Scienti c,
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Inc. (NASDAQ: CORZ) ("Core Scienti c" or "the Company"), today issued an open letter to Core
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Scienti c shareholders and lenders.
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In light of Core Scienti c's strategic alternatives process with respect to its capital structure,
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B. Riley has engaged with the Company to restructure its debt and provide liquidity to avoid a
potential unnecessary and value destructive bankruptcy proceeding. We believe that there is
a path forward and have been proactive in working through a solution, speci cally by
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providing debt on a number of unencumbered assets. B. Riley strongly urges the Company's
Board of Directors to work with creditors expeditiously to achieve a productive resolution for
the bene t of all Core Scienti c stakeholders.
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The full text of the letter is as follows:


An Open Letter From B. Riley To Core Scienti c's Shareholders And Lenders
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                                                Ad Hoc Equity Group Exhibit 15                         

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Dear Fellow Shareholders   Document
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On October 26, 2022, Core Scienti c announced that it would be suspending all principal and




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interest payments coming due in October and early November to several of its equipment
lenders and for other nancings, including its two bridge promissory notes. The Company

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also stated that it was exploring strategic alternatives with respect to its capital structure, and
suggested that all options, including bankruptcy, were on the table. Since then, Core
Scienti c's common shares have declined 86% and currently trade at $0.15 per share,
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representing a market capitalization of approximately $50 million.


As one of Core Scienti c's largest creditors, this announcement took us by surprise.
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Bankruptcy is not the answer and would be a disservice to the Company's investors. It will
destroy value for the Company's shareholders, reduce potential recoveries for the Company's
lenders, deplete its limited resources and create massive uncertainty for all its stakeholders.


Moreover, bankruptcy is not necessary at all. In our opinion, the vast majority of Core
Scienti c's issues are self-imposed and can be corrected in conjunction with an open,
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transparent discussion and ongoing participation with its creditors and equity holders. To
that end, B. Riley has proposed to Core Scienti c's Board of Directors that it would provide
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$72 million in new, non-cash pay nancing on favorable terms, providing more than two years
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of runway for the Company to achieve pro tability. This is a far superior approach for all
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constituents, one that would avoid bankruptcy while preserving meaningful value for all of
Core Scienti c's stakeholders.
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Our proposal and analysis are as follows. Core Scienti c currently has approximately $300
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million of equipment and other loans (B. Riley's outstanding loan is $42 million) that have a
very short maturity. These loans were made when the price of Bitcoin was signi cantly
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higher than it is today and the theoretical payoff on miners was signi cantly faster. These
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debts were incurred as part of an aggressive, ill-conceived strategy by the Company to
continue to build out power facilities and expand miners while never selling Bitcoin on hand
and never hedging prices. This approach has led to the Company having to sell all of its
inventory, representing 9,618 Bitcoins in April 2022 valued at $362 million, at a massive loss.
This decision combined with the fast maturity associated with mining has led the Company
to its current position.         Ad Hoc Equity Group Exhibit 15                                

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Our analyst, Lucas Pipes, hasDocument  576-15 Core
                              been following   FiledScienti
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                                                              since      Page10,
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                                                                                 2022. Based on




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his model, adjusted for current metrics, even at a Bitcoin price of $18,000, Core Scienti c can




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generate Adjusted EBITDA of ~$140 million. Additionally, if the company builds out the
Denton, Texas facility for an incremental $40 million of capital, that could add an additional
$25 million of EBITDA, resulting in a run rate EBITDA of ~$165 million. On top of that, every
$1,000 increase in the price of Bitcoin would likely add up to $20 million of EBITDA—meaning
that if the price of Bitcoin were to increase to $20,000, Adjusted EBITDA could be over $200
million on a run-rate basis. If Bitcoin prices return to $24,500, we estimate that Core Scienti c




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will generate nearly $275 million of Adjusted EBITDA to service creditors.



Our proposal is simple. It provides suf cient liquidity to avoid bankruptcy. B. Riley's proposal
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does not purport to haircut amounts owed to the Company's equipment lenders. B. Riley is
prepared to fund the rst $40 million of nancing immediately, with zero contingencies. For
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the remainder of B. Riley's proposed new nancing, at Bitcoin prices of $18,500 and below, all
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principal payments to equipment lenders would need to be suspended until the price of
Bitcoin recovers to $18,500. Once that happens, the proposal provides free cash ow will be




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distributed in cascading amounts to equipment lenders in the form of interest and partial
principal payments until they are made whole. As Bitcoin continues to rise, additional free
cash ow will be distributed in increasing amounts. In the meantime, all interest payments to
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equipment lenders (and B. Riley itself under its outstanding bridge loan) would be paid in
kind for one year to provide additional runway for the Company. We have had extensive
discussions with the Company's equipment lenders and believe this path should be
acceptable to them.


That leaves the convertible debt. There is no reason to address this debt at the present
juncture. It has more than 2 years remaining to maturity and only $17 million of cash interest
payments. It is a piece of paper that was put in place to withstand a reduction in the price of
Bitcoin. To address this now is unnecessary. If every oil producer had decided to restructure
its debt two years ago when oil traded in the single digits, the only bene ciary would have
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been those that participated in an unnecessary restructuring.


Time is of the essence. We have extensive experience advising and participating in a "review"
process. It is expensive and when the train gets going it is hard to stop. Fortunately, due to
our involvement with the Company, we are prepared to move forward with our alternate, 
                            Ad Hoc Equity Group Exhibit 15
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            Case immediately.
superior proposal 22-90341 Document
                              We are576-15  Filed in TXSB
                                      also prepared       on 02/27/23
                                                      to work           Page 4 of 5 to achieve
                                                              with all stakeholders
the best outcome under the circumstances. In our view it would be a gross violation of the
     duciary duties owed by the Board and Management for those duciaries—who must put
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                                                                                    fi
our interests ahead of their own—to authorize a Chapter 11 ling.




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We strongly urge the Board of Directors to work with us expeditiously to achieve a productive
resolution for the bene t of all Core Scienti c stakeholders.
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Sincerely,
Bryant Riley


About B. Riley Financial
B. Riley Financial is a diversi ed nancial services platform that delivers tailored solutions to
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meet the strategic, operational, and capital needs of its clients and partners. B. Riley
leverages cross-platform expertise to provide clients with full service, collaborative solutions
at every stage of the business life cycle. Through its af liated subsidiaries, B. Riley provides
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end-to-end, collaborative nancial services across investment banking, institutional
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brokerage, private wealth and investment management, nancial consulting, corporate
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restructuring, operations management, risk and compliance, due diligence, forensic
accounting, litigation support, appraisal and valuation, auction, and liquidation services. B.
Riley opportunistically invests to bene t its shareholders, and certain registered af liates
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originate and underwrite senior secured loans for asset-rich companies. B. Riley refers to B.
Riley Financial, Inc. and/or one or more of its subsidiaries or af liates. For more information,
                                                                               fi
please visit www.briley n.com.
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